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07/27/2017 12:10 AM CDT




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                                  Nebraska Supreme Court A dvance Sheets
                                          296 Nebraska R eports
                                         IN RE ESTATE OF VOLLMANN
                                              Cite as 296 Neb. 659



                      In re Estate of Herman M. Vollmann, deceased.
                  Cathy Densberger, Personal R epresentative of the Estate
                       of H erman M. Vollmann, deceased, appellant,
                          v. Nebraska Department of H ealth and
                                 Human Services, appellee.
                                                 ___ N.W.2d ___

                                        Filed May 12, 2017.     No. S-16-608.

                1.	 Summary Judgment: Appeal and Error. An appellate court will
                     affirm a lower court’s grant of summary judgment if the pleadings and
                     admitted evidence show that there is no genuine issue as to any material
                     facts or as to the ultimate inferences that may be drawn from those facts
                     and that the moving party is entitled to judgment as a matter of law.
                2.	 Administrative Law: Statutes: Appeal and Error. To the extent that
                     the meaning and interpretation of statutes and regulations are involved,
                     questions of law are presented, in connection with which an appellate
                     court has an obligation to reach an independent conclusion irrespective
                     of the decision made by the court below.
                3.	 Medical Assistance: Federal Acts: States. The Medicaid program
                     provides joint federal and state funding of medical care for individuals
                     whose resources are insufficient to meet the cost of necessary medi-
                     cal care.
                 4.	 ____: ____: ____. A state is not obligated to participate in the Medicaid
                     program; however, once a state has voluntarily elected to participate, it
                     must comply with standards and requirements imposed by federal stat-
                     utes and regulations.
                5.	 Medical Assistance. Neb. Rev. Stat. § 68-919(1)(a) (Cum. Supp. 2014)
                     provides that a recipient of medical assistance under the medical assist­
                     ance program, who was 55 years of age or older at the time the medical
                     assistance was provided, is indebted to the Department of Health and
                     Human Services for the total amount paid for medical assistance on the
                     recipient’s behalf.
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
 6.	 Statutes: Appeal and Error. Statutory language is to be given its plain
     and ordinary meaning, and an appellate court will not resort to inter-
     pretation to ascertain the meaning of statutory words which are plain,
     direct, and unambiguous.
 7.	 Statutes: Legislature: Intent. Components of a series or collection of
     statutes pertaining to a certain subject matter are in pari materia and
     should be conjunctively considered and construed to determine the
     intent of the Legislature, so that different provisions are consistent, har-
     monious, and sensible.
 8.	 Administrative Law: Statutes. Properly adopted and filed agency regu-
     lations have the effect of statutory law.
 9.	 Decedents’ Estates: Administrative Law: Medical Assistance. Under
     the Medical Assistance Act, Neb. Rev. Stat. §§ 68-901 to 68-974
     (Reissue 2009 &amp; Cum. Supp. 2014), where a Medicaid recipient is not
     survived by a spouse or by a child who is either under the age of 21 or is
     blind or totally and permanently disabled and where no undue hardship
     as provided in the Department of Health and Human Services’ rules and
     regulations would result, the beneficiaries of a recipient’s estate are not
     entitled to an inheritance at the public’s expense.

  Appeal from the County Court for Otoe County: John F.
Steinheider, Judge. Affirmed.
      Phillip Wright for appellant.
  Douglas J. Peterson, Attorney General, and Ronald L.
Sanchez, Special Assistant Attorney General, for appellee.
   Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
K elch, and Funke, JJ.
      Cassel, J.
                       INTRODUCTION
   In this appeal, we must determine whether “medical assist­
ance” provided to a Medicaid recipient includes costs for his
room and board and other “nonmedical” expenses at nursing
facilities. A chain of statutes and regulations dictates that it
does. Because federal law requires a state to seek recovery
of medical assistance,1 those costs can be recovered from the

 1	
      42 U.S.C. § 1396p(b)(1) (2012).
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               Nebraska Supreme Court A dvance Sheets
                       296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
recipient’s estate. The county court granted a summary judg-
ment for that recovery, and we affirm.

                       BACKGROUND
   On September 4, 2014, Herman M. Vollmann died at the
age of 78. The Nebraska Department of Health and Human
Services (DHHS) filed a claim for $22,978.35 for services
provided to Vollmann while he resided at two different nursing
homes and was over 55 years old. Cathy Densberger, personal
representative of Vollmann’s estate, disallowed the claim.
   DHHS filed a petition for allowance of the claim.
Densberger objected. The parties filed cross-motions for
summary judgment. The evidence showed that DHHS paid
$20,545.07 to one nursing home facility for nursing facil-
ity services on Vollmann’s behalf and paid $2,012.66 to a
different facility. The amounts paid were based on the per
diem rates calculated under Nebraska’s plan less Vollmann’s
monthly share of cost obligation. But Densberger asserted
that only $360.45 of the claim was for “‘medical expense’ or
medical treatment.”
   The county court sustained DHHS’ motion for summary
judgment and overruled Densberger’s motion. The court deter-
mined that the services which Densberger defined as room and
board clearly fell within the parameters of services provided
under the Medical Assistance Act.2 Densberger appealed, and
we moved the case to our docket.3

                 ASSIGNMENTS OF ERROR
   Densberger assigns that the county court erred in (1) deter-
mining that DHHS was entitled to amounts for room and
board or other nonmedical expenses, (2) allowing DHHS to
“effectively receive the entire value of [Vollmann’s] estate,”
and (3) granting DHHS’ motion for summary judgment.

 2	
      Neb. Rev. Stat. §§ 68-901 to 68-974 (Reissue 2009 &amp; Cum. Supp. 2014).
 3	
      See Neb. Rev. Stat. § 24-1106(3) (Reissue 2016).
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               Nebraska Supreme Court A dvance Sheets
                       296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
                  STANDARD OF REVIEW
   [1] An appellate court will affirm a lower court’s grant of
summary judgment if the pleadings and admitted evidence
show that there is no genuine issue as to any material facts
or as to the ultimate inferences that may be drawn from those
facts and that the moving party is entitled to judgment as a
matter of law.4
   [2] To the extent that the meaning and interpretation of
statutes and regulations are involved, questions of law are
presented, in connection with which an appellate court has an
obligation to reach an independent conclusion irrespective of
the decision made by the court below.5

                          ANALYSIS
                     Overview of Medicaid
   [3] The Medicaid program provides joint federal and state
funding of medical care for individuals whose resources are
insufficient to meet the cost of necessary medical care.6 The
program provides federal financial assistance to states that
choose to reimburse certain costs of medical treatment for
needy persons.7 Between 50 and 83 percent of a state’s expend­
itures for services under an approved state plan are paid for
by the federal government8; this is referred to as the “Federal
medical assistance percentage.”9
   [4] A state is not obligated to participate in the Medicaid
program; however, once a state has voluntarily elected to
participate, it must comply with standards and requirements

 4	
      Edwards v. Hy-Vee, 294 Neb. 237, 883 N.W.2d 40 (2016).
 5	
      Maycock v. Hoody, 281 Neb. 767, 799 N.W.2d 322 (2011).
 6	
      Smalley v. Nebraska Dept. of Health &amp; Human Servs., 283 Neb. 544, 811
      N.W.2d 246 (2012).
 7	
      Id.
 8	
      See 42 C.F.R. § 433.10(b) (2016).
 9	
      See 42 U.S.C. § 1396b(a)(1) (2012).
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               Nebraska Supreme Court A dvance Sheets
                       296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
imposed by federal statutes and regulations.10 A state risks the
loss of part or all federal funding if it does not comply with
the provisions of the Medicaid program.11 Nebraska elected to
participate in the Medicaid program through enactment of the
Medical Assistance Act, and DHHS is responsible for admin-
istering Nebraska’s program.12
                       Medical Assistance
   [5] The heart of this appeal is Densberger’s contention that
the law does not allow reimbursement to the State for costs
incurred at a nursing facility for expenses such as room and
board and administrative expenses. A Nebraska statute pro-
vides that a recipient of medical assistance under the medical
assistance program, who was 55 years of age or older at the
time the medical assistance was provided, is indebted to DHHS
for the total amount paid for medical assistance on the recipi-
ent’s behalf.13 But before analyzing whether recovery is autho-
rized, we must examine what constitutes medical assistance.
This requires us to examine a chain of complex federal and
state statutes and regulations.
   [6-8] Because the meaning of medical assistance requires
interpretation of statutes and regulations, we recall three basic
principles. First, statutory language is to be given its plain
and ordinary meaning, and an appellate court will not resort
to interpretation to ascertain the meaning of statutory words
which are plain, direct, and unambiguous.14 Second, com-
ponents of a series or collection of statutes pertaining to a
certain subject matter are in pari materia and should be con-
junctively considered and construed to determine the intent

10	
      Id.
11	
      See 42 U.S.C. § 1396c (2012).
12	
      See Smalley v. Nebraska Dept. of Health &amp; Human Servs., supra note 6.
13	
      § 68-919(1)(a).
14	
      Stew. v. Nebraska Dept. of Rev., 294 Neb. 1010, 885 N.W.2d 723
      (2016).
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
of the Legislature, so that different provisions are consistent,
harmonious, and sensible.15 Finally, properly adopted and filed
agency regulations have the effect of statutory law.16
   A federal statute defines “medical assistance” to mean “pay-
ment of part or all of the cost” of certain care and services,17
including nursing facility services.18 Federal statutes dictate
that a state plan for medical assistance must provide for mak-
ing medical assistance available for nursing facility services.19
Accordingly, a Nebraska statute provides that medical assist­
ance includes “coverage for health care and related services,”
including nursing facility services.20 In sum, medical assist­
ance includes nursing facility services.
   We then turn to the meaning of nursing facility services.
A federal statute instructs that nursing facility services are
“services which are or were required to be given an individual
who needs or needed on a daily basis nursing care . . . or other
rehabilitation services which as a practical matter can only be
provided in a nursing facility on an inpatient basis.”21
   This takes us to the definition of a nursing facility, which
includes an institution primarily engaged in providing to
residents “skilled nursing care and related services for resi-
dents who require medical or nursing care.”22 According to a
Nebraska regulation, “[r]outine nursing facility services include
regular room, dietary, and nursing services . . . .”23

15	
      Cisneros v. Graham, 294 Neb. 83, 881 N.W.2d 878 (2016).
16	
      Merie B. on behalf of Brayden O. v. State, 290 Neb. 919, 863 N.W.2d 171
      (2015).
17	
      42 U.S.C. § 1396d(a) (2006).
18	
      § 1396d(a)(4)(A).
19	
      See 42 U.S.C. §§ 1396a(a)(10)(A) (2006) and 1396d(a)(4)(A).
20	
      § 68-911(1)(c).
21	
      § 1396d(f).
22	
      42 U.S.C. § 1396r(a)(1)(A) (2012).
23	
      471 Neb. Admin. Code, ch. 12, § 011.04B (2014).
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
              R ates for Nursing Facility Services
   Congress allowed the states to develop payment methods
and standards for nursing facilities. A state plan for medical
assistance must provide for a public process for determina-
tion of rates of payment under the plan for nursing facil-
ity services.24
   Nebraska regulations set forth the methodology for deter-
mining a nursing facility’s per diem. DHHS determines rates
under a cost-based prospective methodology.25 DHHS “deter-
mines facility-specific prospective per diem rates . . . based on
the facility’s allowable costs incurred and documented during
the Report Period.”26 A facility’s prospective rate consists of
four components: the direct nursing component, the support
services component, the fixed cost component, and the nurs-
ing facility quality assessment component.27 Allowable costs—
“those facility costs which are included in the computation of
the facility’s per diem”28—include such things as room and
dietary services.29

                R ecovery for Room and Board
   Densberger argues that DHHS is not entitled to recover
money paid for room and board and other nonmedical
expenses. She concedes in her brief that DHHS “has a duty
to provide nursing home services including room and board
. . . for a Medicaid recipient” but asserts that “there is noth-
ing in the statute to allow recovery for non-medical assistance
expenses.”30 We disagree.

24	
      § 1396a(a)(13)(A).
25	
      See 471 Neb. Admin. Code, ch. 12, § 011.08 (2012).
26	
      § 011.08D.
27	
      Id.
28	
      471 Neb. Admin. Code, ch. 12, § 011.02 (2014).
29	
      See § 011.04B.
30	
      Brief for appellant at 7.
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
   Section 68-919(1) plainly provides that a recipient of medi-
cal assistance “shall be indebted to [DHHS] for the total
amount paid for medical assistance on behalf of the recipient.”
(Emphasis supplied.) Densberger claims that § 68-919 “is care-
ful to draw a distinction between costs incurred for medical
assistance as compared to costs for a medical institution.”31 We
see no distinction. Whether the recipient of medical assistance
(1) was 55 years of age or older or (2) resided in a medical
institution and could not reasonably be expected to be dis-
charged and resume living at home, the statute is clear that
the debt “shall include the total amount of medical assistance
provided.”32 And, as set forth above, the State provides “medi-
cal assistance” when it pays part or all of the costs for routine
nursing services in a nursing facility—which costs include
room and board and other “nonmedical” expenses.
   Nor does the federal statute concerning liens, adjustments
and recoveries, and transfers of assets33 support Densberger’s
argument. Although Densberger refers to a “lien,” DHHS’
claim was unsecured. Thus, the portion of the federal statute
regarding liens does not apply here.34 Section 1396p(b)(1)
directs that “the State shall seek adjustment or recovery of
any medical assistance correctly paid on behalf of an individ-
ual under the State plan.” The statute specifically authorizes
recovery of medical assistance consisting of “nursing facility
services.”35 Densberger’s argument that “medical assistance”
as used in § 1396p is “traditional medically related services
such as nursing, hospital and prescription services”36 ignores
the meaning of “nursing facility services.”

31	
      Id. at 6.
32	
      § 68-919(3).
33	
      See § 1396p.
34	
      See § 1396p(a)(1) and (b)(1)(A).
35	
      § 1396p(b)(1)(B)(i).
36	
      Brief for appellant at 6.
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                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
   Densberger next argues that it would be inequitable to
allow DHHS to effectively receive the value of the entire
estate. But DHHS’ claim is founded in a contractual relation-
ship governed by the provisions of the Medical Assistance
Act. Anyone seeking medical assistance from the State must
file an application.37 The act’s provisions determine eligibil-
ity for benefits,38 establish a debt to DHHS,39 and authorize
its recovery after the recipient’s death except under certain
circumstances.40 Densberger did not argue that any of those
circumstances applied to this estate.
   Densberger relies on a U.S. Supreme Court decision41 con-
cerning third-party liability for medical expenses. But her reli-
ance is misplaced. That case did not concern the meaning of
medical assistance, but, rather, involved the apportionment of
damages recovered by a living Medicaid recipient between the
recipient and the state Medicaid agency.
   Densberger also asserts that DHHS’ attempt to collect 71
percent of the net value of the remaining estate is uncon­
scionable and contrary to law. Again, we disagree. Although
DHHS may waive its claim in whole or in part,42 it declined to
do so in this case. A Nebraska regulation explains the public
policy underlying waivers for undue hardship:
      Waivers granted by [DHHS] based on undue hardship are
      intended to prevent the impoverishment of the deceased
      recipient’s family if [DHHS] were to pursue its estate
      recovery claim. The fact that family members antici-
      pate or expect an inheritance or may be inconvenienced

37	
      See § 68-914.
38	
      See, e.g., § 68-915.
39	
      See § 68-919(1).
40	
      See § 68-919(2).
41	
      Arkansas Dept. of Health and Human Servs. v. Ahlborn, 547 U.S. 268, 126
      S. Ct. 1752, 164 L. Ed. 2d 459 (2006).
42	
      See § 68-919(5).
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               Nebraska Supreme Court A dvance Sheets
                       296 Nebraska R eports
                         IN RE ESTATE OF VOLLMANN
                              Cite as 296 Neb. 659
      economically by the lack of an inheritance is not a valid
      basis for an undue hardship waiver.43
   [9] The evidence does not establish grounds for a waiver.
Vollmann was survived by five children, who, under his will,
were the devisees of his estate in equal shares. Densberger
admitted that there was no child who was under 21 years
old, blind, or totally and permanently disabled at the time of
Vollmann’s death. Under the Medical Assistance Act, where a
Medicaid recipient is not survived by a spouse or by a child
who is either under the age of 21 or is blind or totally and per-
manently disabled and where no undue hardship as provided
in DHHS’ rules and regulations would result, the beneficiaries
of a recipient’s estate are not entitled to an inheritance at the
public’s expense.44 That is the situation here. Densberger’s
assertion that the State “seems to make a profit at the expense
of Nebraska residents”45 because of reimbursement by the fed-
eral government46 is incorrect. When the State recovers funds
from an estate, “the federal government is credited with a per-
centage equal to the state’s [federal medical assistance percent-
age], and the state retains the balance.”47 The notion that the
Medicaid program constitutes a moneymaking scheme for the
State borders on the frivolous.
                     Summary Judgment
   Finally, Densberger argues that summary judgment was
improper due to a material question of fact. She stated in her
affidavit that most of Vollmann’s expenses were nonmedical
in nature, and she contends that “there is a material ques-
tion of fact whether room and board and other non-medical

43	
      471 Neb. Admin. Code, ch. 38, § 004.01 (2008).
44	
      See § 68-919.
45	
      Reply brief for appellant at 3.
46	
      See § 1396b.
47	
      West Virginia v. U.S. Dept. Health and Human Serv., 289 F.3d 281, 285
      (4th Cir. 2002).
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                 Nebraska Supreme Court A dvance Sheets
                         296 Nebraska R eports
                           IN RE ESTATE OF VOLLMANN
                                Cite as 296 Neb. 659
expenses are in fact ‘medical assistance’ as defined by the
statutes.”48 But that issue presents a question of law, which
does not prevent summary judgment. This assignment of error
lacks merit.
                        CONCLUSION
   Medical assistance includes sums paid on a Medicaid recip-
ient’s behalf for nursing facility services. Because nursing
facility services include room and board costs and other
expenses, DHHS is statutorily authorized to recover the sums
it paid for such medical assistance from Vollmann’s estate. We
affirm the summary judgment in favor of DHHS.
                                                   A ffirmed.

48	
      Brief for appellant at 9.
